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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 United States of America,                                   Case No. 23-cr-310 (DWF/DJF)

                       Plaintiff,

 v.                                                                     ORDER

 Mario Lazaro Santos-Hunter (1),

                       Defendant.



       This matter is before the Court on the Government’s Motion for Discovery Pursuant to

Federal Rules of Criminal Procedure 16(b), 12.1, 12.2, 12.3 and 26.2 (“Motion”) (ECF No. 13). 1

Mr. Santos-Hunter confirms his understanding of his ongoing discovery obligations and agrees to

promptly notify the Government as necessary. (ECF No. 24.)

       Based on all the files, records, and proceedings herein, the Government’s Motion is

GRANTED insofar as Mr. Santos-Hunter shall provide discovery to the extent required by the

applicable Rules. With respect to expert discovery pursuant to Rules 16(a)(1)(G) and 16(b)(1)(C),

as the Court previously ordered (ECF No. 9 ¶ 9), the following deadlines shall apply:

              a. Initial expert disclosures: 28 days prior to trial.

              b. Rebuttal expert disclosures: 14 days prior to trial.

SO ORDERED.

       Dated: January 4, 2024                                 s/ Dulce J. Foster
                                                              DULCE J. FOSTER
                                                              United States Magistrate Judge




       1
         During the motions hearing on December 29, 2023, the parties agreed oral argument on
this Motion was not necessary.
